                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF VIRGINIA
                                      HARRISONBURG DIVISION

  PRISON LEGAL NEWS,                                      )
                                                          )
         Plaintiff,                                       )
                                                          )
  v.                                                      )      Civil Action No. 5:15-cv-00061
                                                          )
  NORTHWESTERN REGIONAL JAIL                              )      By: Elizabeth K. Dillon
  AUTHORITY, et al.,                                      )          United States District Judge
                                                          )
         Defendants.                                      )

                                MEMORANDUM OPINION AND ORDER

         This case involves constitutional challenges brought by publisher Prison Legal News

  (PLN) after materials it sent to prisoners at the Northwestern Regional Adult Detention Center

  (NRADC) were sent back to it with a notation that they had been refused, per jail policy. The

  remaining named defendants are the Northwestern Regional Jail Authority (NRJA), which
                                                                        1
  operates NRADC, and jail superintendent James F. Whitley. Whitley was in charge of all

  operations at the jail and was the individual who approved the policy that PLN challenges. After

  this suit was filed, the parties engaged in settlement discussions. They subsequently provided to

  the court two consent decrees, both of which were entered by the court. Those orders effectively

  granted the injunctive relief sought by PLN.

         Both parties filed cross-motions for summary judgment, raising a host of issues. In ruling

  on those motions, the court found NRJA liable as a matter of law on PLN’s due process claim,

  but found that disputes of fact precluded summary judgment on PLN’s First Amendment claim.

  As the court explained, its ruling left only a few issues for trial: (1) whether PLN can prevail on

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             The only other named defendant, Captain Clay Corbin, was previously dismissed by the court. (Dkt. No.
  90.)




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  its First Amendment claim against NRJA; and (2) the compensatory damages, if any, that PLN is

  entitled to on its First Amendment claim in Count I and its due process claim in Count II.

         The court’s opinion also discussed PLN’s Fourteenth Amendment equal protection claim

  and denied PLN’s motion for summary judgment on this claim. However, because defendants’

  motion for summary judgment did not expressly ask for judgment in its favor on the equal

  protection claim, the court could not grant judgment in defendants’ favor on that claim. (Mem.

  Op. 7 n.2, 26–Dkt. No. 89.) Rather, by separate order (Dkt. No 91), the court gave notice of its

  intent to grant summary judgment in defendants’ favor as to the equal protection claim for the

  same reasons it denied PLN’s motion (Mem. Op. 26–29) and gave PLN a reasonable opportunity

  to respond. See Fed. R. Civ. P. 56(f).

         Both parties filed timely responses concerning PLN’s equal protection claim. (Dkt. Nos.

  92, 93.) For the reasons discussed below, the court concludes that summary judgment in

  defendants’ favor as to PLN’s equal protection claim is required.

                                           I. DISCUSSION

         In PLN’s operative complaint, the second amended complaint, its equal protection claim

  is based only on the following allegations:

                         58. The prohibition of “secular” books while allowing
                 “religious” books and [sic] violates the equal protection clause of
                 the Fourteenth Amendment to the United States Constitution.

                        59. As a direct and proximate result of the conduct of
                 Defendants, Plaintiff has and will continue to suffer harm as
                 described herein.

  (Second Am. Compl. ¶¶ 58–59, Dkt. No. 25.)

         Understandably in light of these allegations, the court’s analysis in its prior opinion was

  based on a discussion of PLN’s assertion that it was treated differently than religious publishers.



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  Moreover, that was the only issue briefed in the first round of summary judgment briefing. In its

  supplemental briefing, however, PLN argues for the first time that defendants violated its equal

  protection rights when they intentionally and purposefully discriminated against PLN’s written

  speech by censoring its educational books and magazines, while allowing similarly situated

  senders of other educational material to communicate with prisoners at the jail. (Pl.’s Supp. Br.

  2–3, Dkt. No. 92.) That is, PLN argues that defendants clearly intended to treat educational

  books differently from other written speech, and by excluding PLN’s educational publications

  defendants intentionally and purposefully discriminated against PLN. (Id. at 3–4.)

           PLN’s supplemental briefing focuses entirely on a new theory and basis for its equal
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  protection claim, one that was not pled in its complaint nor previously argued before the court.

  Although defendants respond by addressing the merits of that new claim, the court concludes

  that the new claim is not before the court. Quite simply, PLN may not, through briefing or

  argument, amend its complaint to plead a new “theory” of equal protection violation. S. Walk at

  Broadlands Homeowner’s Ass’n, Inc. v. OpenBand at Broadlands, LLC, 713 F.3d 175, 184 (4th

  Cir. 2013) (“It is well-established that parties cannot amend their complaints through briefing or

  oral advocacy.”)

           Accordingly, the court will grant summary judgment in defendants’ favor as to PLN’s

  equal protection claim for the reasons set forth in the court’s prior opinion and for the reasons set

  forth herein.


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              Consistent with the complaint, PLN’s initial motion for summary judgment focused, for purposes of the
  equal protection claim, on PLN’s assertion that defendants’ policy treated it differently than religious publishers and
  thus “favor[ed] religion over non-religion.” (Pl.’s Mem. Supp. Mot. Summ. J. 9, Dkt. No. 7.) In its supplemental
  brief, however, PLN grounds its equal protection claim on an assertion that defendants treated PLN differently than
  other educational publishers. (Pl.’s Supp. Br. 1 n.1.) Indeed, the only reference to differential treatment of PLN
  relative to religious publishers is in a single footnote in which PLN criticizes the court’s prior analysis of its equal
  protection claim. (Id.) To the extent that the brief argument in that footnote is intended to be its opposition to
  summary judgment as to the different treatment of its texts on the grounds of religion or non-religion, the court
  rejects PLN’s contentions for the reasons set forth in the court’s prior opinion. (Mem. Op. 26–29.)

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                                       II. CONCLUSION

         It is hereby ORDERED that summary judgment is GRANTED in defendants’ favor on

  PLN’s equal protection claim.

         Entered: November 20, 2018.




                                           /s/ Elizabeth K. Dillon
                                           Elizabeth K. Dillon
                                           United States District Judge




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